                               Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 1 of 10




EXHIBIT 2
Table 1: Cases in which the government recommended a probation sentence without home detention 1

 Defendant Name            Case Number                 Offense of Conviction            Government                       Sentence Imposed
                                                                                        Recommendation
 Morgan-Lloyd, Anna        1:21-CR-00164-RCL           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         36 months’ probation, 120
                                                                                        hours community service,         community service hours, $500
                                                                                        $500 restitution                 restitution
 Ehrke, Valerie            1:21-CR-00097-PLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         36 months’ probation, $500
                                                                                        hours community service,         restitution
                                                                                        $500 restitution
 Bissey, Donna             1:21-CR-00165-TSC           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         14 days incarceration, 60 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
 Hiles, Jacob              1:21-CR-00155-ABJ           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 60         24 months’ probation, 60 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
 Wangler, Douglas          1:21-CR-00365-DLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         24 months’ probation, 60 hours of
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
 Harrison, Bruce           1:21-CR-00365-DLF           40 U.S.C. § 5104(e)(2)(G)        48 months’ probation, 40         24 months’ probation, 60 hours of
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution




        1
           Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend
probation in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue
Bissey, 1:21-cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The
government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183
(9th Cir. 2015) (no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those
who do not given the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

                                                                              1
                                    Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 2 of 10



Table 2: Cases in which the government recommended a probation sentence with home detention

 Defendant Name                 Case Number                Offense of Conviction            Government                       Sentence Imposed
                                                                                            Recommendation
 Bustle, Jessica                1:21-CR-00238-TFH          40 U.S.C. § 5104(e)(2)(G)        3 months home detention,         2 months of home detention, 24
                                                                                            36 months’ probation, 40         months’ probation, 40 hours
                                                                                            hours community service,         community service, $500 restitution
                                                                                            $500 restitution
 Bustle, Joshua                 1:21-CR-00238-TFH          40 U.S.C. § 5104(e)(2)(G)        1 month home detention, 36       1 month home detention, 24 months’
                                                                                            months’ probation, 40            probation, 40 hours community
                                                                                            hours community service,         service, $500 restitution
                                                                                            $500 restitution
 Doyle, Danielle                1:21-CR-00324-TNM          40 U.S.C. § 5104(e)(2)(G)        2 months home detention,         2 months’ probation, $3,000 fine,
                                                                                            36 months’ probation, 60         $500 restitution
                                                                                            hours community service,
                                                                                            $500 probation
 Bennett, Andrew                1:21-CR-00227-JEB          40 U.S.C. § 5104(e)(2)(G)        3 months home detention,         3 months of home detention,
                                                                                            36 months’ probation, 60         24 months’ probation, 80 hours
                                                                                            hours community service,         community service, $500 restitution
                                                                                            $500 restitution
 Mazzocco, Matthew              1:21-CR-00054-TSC          40 U.S.C. § 5104(e)(2)(G)        3 months home detention,         45 days incarceration, 60 hours
                                                                                            36 months’ probation, 60         community service 2, $500 restitution
                                                                                            hours community service,
                                                                                            $500 restitution
 Rosa, Eliel                    1:21-CR-00068-TNM          40 U.S.C. § 5104(e)(2)(G)        1 month home detention, 36       12 months’ probation, 100 hours
                                                                                            months’ probation, 60            community service, $500 restitution
                                                                                            hours community service,
                                                                                            $500 restitution
 Gallagher, Thomas              1:21-CR-00041-CJN          40 U.S.C. § 5104(e)(2)(G)        1 month home detention, 36       24 months’ probation, 60 hours
                                                                                            months’ probation, 60            community service, $500 restitution
                                                                                            hours community service, a
                                                                                            fine, and $500 restitution


          2
              The government believes the Court’s 10/4/2021 minute entry in this case is incorrect and the sentence requires 60 hours of community service, not 60
months.

                                                                                  2
                        Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 3 of 10




Vinson, Thomas       1:21-CR-00355-RBW   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       5 years’ probation, $5,000 fine, $500
                                                                     3 years’ probation, 60 hours   restitution, 120 hours community
                                                                     community service, $500        service
                                                                     restitution
Dillon, Brittiany    1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)   3 months home detention,       2 months home detention, 3 years’
                                                                     36 months’ probation, 60       probation, $500 restitution
                                                                     hours community service,
                                                                     $500 restitution
Sanders, Jonathan    1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       36 months’ probation, 60 hours
                                                                     36 months’ probation, 60       community service, $500 restitution
                                                                     hours community service,
                                                                     $500 restitution
Fitchett, Cindy      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       1 month home detention, 36 months’
                                                                     36 months’ probation, 60       probation, 60 hours community
                                                                     hours community service,       service, $500 restitution
                                                                     $500 restitution
Sweet, Douglas       1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       1 month home detention, 36 months’
                                                                     36 months’ probation, 60       probation, 60 hours community
                                                                     hours community service,       service, $500 restitution
                                                                     $500 restitution
Cordon, Sean         1:21-CR-00269-TNM   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       2 months’ probation, $4000 fine
                                                                     36 months’ probation, 60
                                                                     hours community service,
                                                                     $500 restitution
Wilkerson, John IV   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       36 months’ probation, $2500 fine, 60
                                                                     36 months’ probation, 60       hours community service, $500
                                                                     hours community service,       restitution
                                                                     $500 restitution
Jones, Caleb         1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       2 months home detention, 24
                                                                     36 months’ probation, 60       months’ probation, $500 restitution,
                                                                     hours community service,       100 hours community service
                                                                     $500 restitution
Brown, Terry         1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days home detention, 36     1 month home detention, 36 months’
                                                                     months’ probation, 60          probation, $500 restitution, 60 hours
                                                                     hours community service,       community service
                                                                     $500 restitution

                                                             3
                       Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 4 of 10




Wrigley, Andrew     1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     18 months’ probation, $2000 fine,
                                                                    36 months’ probation, 60     $500 restitution, 60 hours
                                                                    hours community service,     community service
                                                                    $500 restitution
Parks, Jennifer     1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36   24 months’ probation, $500
                                                                    months’ probation, 60        restitution, 60 hours community
                                                                    hours community service,     service
                                                                    $500 restitution
Reimler, Nicholas   1:21-CR-00239-RDM   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     1 month home detention, 36 months’
                                                                    36 months’ probation, 60     probation, 60 hours community
                                                                    hours community service,     service, $500 restitution
                                                                    $500 restitution
Miller, Brandon     1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     20 days incarceration, 60 hours
                                                                    36 months’ probation, 60     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Miller, Stephanie   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     14 days incarceration, 60 hours
                                                                    36 months’ probation, 60     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Hatley, Andrew      1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, $500
                                                                    36 months’ probation, 60     restitution
                                                                    hours community service,
                                                                    $500 restitution
Pert, Rachael       1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months home detention,     24 months’ probation, 100 hours
                                                                    24 months’ probation, 40     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Winn, Dana          1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months home detention,     10 days incarceration (weekends), 12
                                                                    24 months’ probation, 40     months’ probation, 100 hours
                                                                    hours community service,     community service, $500 restitution
                                                                    $500 restitution
Wickersham, Gary    1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)   4 months home detention,     3 months home detention, 36
                                                                    36 months’ probation, 60     months’ probation, $2000 fine, $500
                                                                    hours community service,     restitution
                                                                    $500 restitution

                                                            4
                           Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 5 of 10




 Schwemmer, Esther      1:21-CR-00364-DLF       40 U.S.C. § 5104(e)(2)(G)    1 month home detention, 36    24 months’ probation, 60 hours
                                                                             months’ probation, 60         community service, $500 restitution
                                                                             hours community service,
                                                                             $500 restitution
 Kelly, Kenneth         1:21-CR-00331-CKK       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,      2 months home detention, 12
                                                                             36 months’ probation, 60      months’ probation, 60 hours
                                                                             hours community service,      community service, $500 restitution
                                                                             $500 restitution
 Straka, Brandon        1:21-cr-00579-DLF       40 U.S.C. § 5104(e)(2)(D)    4 months home detention       3 months home detention
                                                                             3 years probation             3 years probation
 Sizer, Julia           1:21-CR-00621-CRC       40 U.S.C. § 5104(e)(2)(G)    60 days home detention        12 months probation
                                                                             3 years probation             $2,000 fine
 Blauser, William       1:21-CR-00386-TNM       40 U.S.C. § 5104(e)(2)(G)    90 days home detention        $500 fine
                                                                             3 years probation
 Barnard, Richard       1:21-CR-00235-RC        40 U.S.C. § 5104(e)(2)(G)    30 days home detention        30 days home detention
                                                                             36 months probation           12 probation
 Witcher, Jeffrey       1:21-CR-00235-RC        18 U.S.C. § 1752(a)(1)       60 days home detention        $5000 fine
                                                                             36 months probation


Table 3: Cases in which the government recommended a sentence of incarceration

 Defendant Name        Case Number             Offense of Conviction        Government                    Sentence Imposed
                                                                            Recommendation
 Curzio, Michael       1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    Not applicable                6 months incarceration (time served),
                                                                                                          $500 restitution
 Hodgkins, Paul        1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)       18 months incarceration       8 months incarceration, 24 months’
                                                                                                          supervised release, $2000 restitution
 Dresch, Karl          1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration        6 months incarceration (time served),
                                                                            (time served), $500           $500 restitution
                                                                            restitution
 Jancart, Derek        1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Rau, Erik             1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution



                                                                       5
                        Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 6 of 10




Hemenway, Edward     1:21-CR-00049-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   45 days incarceration, 60 hours
                                                                     restitution                   community service, $500 restitution
Reeder, Robert       1:21-CR-00166-TFH   40 U.S.C. § 5104(e)(2)(G)   6 months incarceration,       3 months incarceration, $500
                                                                     $500 restitution              restitution
Bauer, Robert        1:21-CR-00049-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   45 days incarceration, 60 hours
                                                                     restitution                   community service, $500 restitution
Smocks, Troy         1:21-CR-00198-TSC   18 U.S.C. § 875(c)          Low end of sentencing         14 months incarceration, 36 months
                                                                     guidelines as determined by   supervised release
                                                                     the court, 36 months
                                                                     supervised release
Vinson, Lori         1:21-CR-00355-RBW   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   5 years’ probation, $5,000 fine, $500
                                                                     restitution                   restitution, 120 hours community
                                                                                                   service
Griffith, Jack       1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)   3 months incarceration,       90 days home detention, 36 months’
                                                                     $500 restitution              probation, $500 restitution
Torrens, Eric        1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)   2 weeks incarceration, $500   90 days home detention, 36 months’
                                                                     restitution                   probation, $500 restitution
Gruppo, Leonard      1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   90 days home detention, 24 months’
                                                                     restitution                   probation, $3,000 fine, $500
                                                                                                   restitution
Ryan, Jenna          1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $1000 fine,
                                                                     restitution                   $500 restitution
Croy, Glenn          1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   90 days home detention, 14 days
                                                                     restitution                   community correctional facility, 36
                                                                                                   months’ probation, $500 restitution
Stotts, Jordan       1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                     restitution                   probation, $500 restitution, 60 hours
                                                                                                   community service
Fairlamb, Scott      1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2),     44 months incarceration, 36   41 months incarceration, 36 months
                                         18 U.S.C. § 111(a)(1)       months’ supervised release,   supervised release, $2000 restitution
                                                                     $2000 fine
Camper, John         1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $500
                                                                     restitution                   restitution, 60 hours community
                                                                                                   service
Rukstales, Bradley   1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution

                                                              6
                         Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 7 of 10




Cordon, Kevin         1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     12 months’ probation, 100 hours
                                                                      months supervised release,    community service, $4000 fine, $500
                                                                      $500 restitution              restitution
Chansley, Jacob       1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)      51 months incarceration, 36   41 months incarceration, 36 months
                                                                      months supervised release,    supervised release, $2000 restitution
                                                                      $2000 restitution
Mish, David           1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                      restitution                   restitution
Lolos, John           1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   14 days incarceration, $500
                                                                      restitution                   restitution
Scavo, Frank          1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   60 days incarceration, $5000 fine,
                                                                      restitution                   $500 restitution
Abual-Ragheb,         1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   60 days home detention, 36 months’
Rasha                                                                 restitution                   probation, 60 hours community
                                                                                                    service, $500 restitution
Peterson, Russell     1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   30 days incarceration, $500
                                                                      restitution                   restitution
Simon, Mark           1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   35 days incarceration, $500
                                                                      restitution                   restitution
Ericson, Andrew       1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   20 days incarceration (consecutive
                                                                      restitution                   weekends), 24 months’ probation,
                                                                                                    $500 restitution
Pham, Tam Dinh        1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   45 days incarceration, $1000 fine,
                                                                      restitution                   $500 restitution
Nelson, Brandon       1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   24 months’ probation, $2500 fine,
                                                                      restitution                   $500 restitution, 50 hours
                                                                                                    community service
Markofski, Abram      1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   24 months’ probation, $1000 fine,
                                                                      restitution                   $500 restitution, 50 hours
                                                                                                    community service
Marquez, Felipe       1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)      4 months incarceration, 1     3 months home detention, 18
                                                                      year supervised release,      months’ probation, $500 restitution
                                                                      $500 restitution
Meredith, Cleveland   1:21-CR-00159-ABJ   18 U.S.C. § 875(c)          Midrange of 37-46 months      28 months incarceration, 36 months
                                                                      incarceration                 supervised release


                                                               7
                        Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 8 of 10




Sorvisto, Jeremy     1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days incarceration, $500
                                                                      restitution                   restitution
Mariotto, Anthony    1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)    4 months incarceration, 36    36 months’ probation, 250 hours
                                                                      months’ probation, $500       community service, $5000 fine, $500
                                                                      restitution
Courtright, Gracyn   1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)       6 months incarceration, 12    1 month incarceration, 12 months’
                                                                      months’ supervised release,   supervised release, 60 hours
                                                                      60 hours community            community service, $500 restitution
                                                                      service, $500 restitution
Palmer, Robert       1:21-CR-00328-TSC   18 U.S.C. § 111(a) and (b)   63 months incarceration, 36   63 months incarceration, 36 months
                                                                      months supervised release,    supervised release, $2000 restitution,
                                                                      $2000 restitution
Thompson, Devlin     1:21-CR-00461-RCL   18 U.S.C. § 111(a) and (b)   48 months incarceration, 36   46 months incarceration, 36 months
                                                                      months supervised release,    supervised release, $2000 restitution
                                                                      $2000 restitution
Edwards, Gary        1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, 24     12 months’ probation, $2500 fine,
                                                                      months’ probation, $500       200 hours of community service,
                                                                      restitution                   $500 restitution
Tutrow, Israel       1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   2 months home detention, 36
                                                                      restitution                   months’ probation, $500 restitution
Ridge IV, Leonard    1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)       45 days incarceration, $500   14 days consecutive incarceration,
                                                                      restitution                   $1000 fine, 1 year supervised
                                                                                                    release, 100 hours community
                                                                                                    service, $500 restitution
Perretta, Nicholas   1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days incarceration, $500
                                                                      restitution                   restitution
Vukich, Mitchell     1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days incarceration, $500
                                                                      restitution                   restitution
Spencer, Virginia    1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)    3 months incarceration, 36    90 days incarceration, $500
                                                                      months’ probation, $500       restitution
                                                                      restitution
Kostolsky, Jackson   1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days home detention, 36 months’
                                                                      restitution                   probation, $500 restitution
Rusyn, Michael       1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)    45 days incarceration, $500   60 days home detention, 24 months’
                                                                      restitution                   probation, $2000 fine


                                                               8
                        Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 9 of 10




Tryon, William       1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)        30 days incarceration, 12    50 days incarceration, 12 months
                                                                       months supervised release,   supervised release, $1000 fine, $500
                                                                       $500 restitution             restitution
Sells, Tanner        1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days incarceration, 36    90 days home detention, 24 months’
                                                                       months’ probation, 60        probation, 50 hours community
                                                                       hours community service,     service, $1500 fine, $500 restitution
                                                                       $500 restitution
Walden, Jon          1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)     At least two weeks           30 days home detention, 36 months’
                                                                       incarceration, 60 hours      probation, 60 hours community
                                                                       community service, $500      service, $500 restitution
                                                                       restitution
Wiedrich, Jacob      1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)     3 months incarceration, 36   3 months home detention, 36
                                                                       months’ probation, $500      months’ probation, 100 hours
                                                                       restitution                  community service, $500 restitution
Stepakoff, Michael   1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)     14 days incarceration        2 months home detention
                                                                                                    12 months probation; $500
                                                                                                    restitution; $742 fine
Scirica, Anthony     1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)     15 days incarceration; 4     15 days incarceration
                                                                       months’ home detention       $500 restitution; $500 fine
Crase, Dalton        1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)     30 days incarceration        15 days intermittent incarceration as
                                                                       36 months probation          a condition of 36 months probation;
                                                                                                    $500 restitution; 60 hours
                                                                                                    community service
Williams, Troy       1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)     30 days incarceration        15 days intermittent incarceration as
                                                                       36 months probation          a condition of 36 months probation;
                                                                                                    60 hours community service
Languerand,          1:21-CR-00353-JDB   18 U.S.C. § 111 (a) and (b)   51 months incarceration      44 months incarceration
Nicholas                                                               36 months supervised         24 months supervised release
                                                                       release
Wilson, Zachary      1:21-CR-578 - APM   40 U.S.C. § 5104(e)(2)(G)     14 days incarceration        24 months probation; 45 days home
                                                                       36 months probation          detention; 60 hours community
                                                                                                    service; $500 restitution
Wilson, Christine    1:21-CR-578 - APM   40 U.S.C. § 5104(e)(2)(G)     14 days incarceration        24 months probation
                                                                       36 months probation          30 days home detention; 60 hours
                                                                                                    community service; $500 restitution


                                                               9
                       Case 1:21-cr-00350-PLF Document 41-2 Filed 02/07/22 Page 10 of 10




McAuliffe, Justin   1:21-CR-608 - RCM   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration   36 months probation; 60 days home
                                                                    36 months probation     detention; 60 hours community
                                                                                            service; $500 restitution




                                                            10
